Case 1:17-cv-00103-CG-MU Document 96 Filed 05/08/19 Page 1 of 1   PageID #: 744



               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 JOSEPH MARCO JACKSON,                 )
 #202136,                              )
                                       )
       Plaintiff,                      )
                                       )
 vs.                                   )   CIVIL ACTION 17-103-CG-MU
                                       )
 JEFFERSON DUNN, et al.,               )
                                       )
       Defendants.                     )

                                JUDGMENT

       It is ORDERED, ADJUDGED, and DECREED that this action be and is

 hereby DISMISSED without prejudice.

       DONE and ORDERED this 8th day of May, 2019.



                              /s/ Callie V. S. Granade
                              SENIOR UNITED STATES DISTRICT JUDGE
